       Case 1:22-cv-00062-AW-GRJ Document 1 Filed 03/08/22 Page 1 of 8




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

                             CASE NO.: 1:22-cv-00062

 SUSANNE MASTERS,

              Plaintiff,

 v.

 CAMPUS COMMUNICATIONS,
 INC. DBA THE INDEPENDENT
 FLORIDA ALLIGATOR,

              Defendant.


             COMPLAINT FOR COPYRIGHT INFRINGEMENT
                 (INJUNCTIVE RELIEF DEMANDED)

      Plaintiff SUSANNE MASTERS by and through undersigned counsel,

brings this Complaint against Defendant CAMPUS COMMUNICATIONS, INC.

DBA THE INDEPENDENT FLORIDA ALLIGATOR for damages and injunctive

relief, and in support thereof states as follows:

                           SUMMARY OF THE ACTION

      1.     Plaintiff SUSANNE MASTERS (“Masters”) brings this action for

violations of exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy

and distribute Masters' original copyrighted Work of authorship.




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       Case 1:22-cv-00062-AW-GRJ Document 1 Filed 03/08/22 Page 2 of 8




      2.     Masters specializes in wildlife & wild places photography that are in

conjunction with articles that she has written for various publications, including

The Guardian, Outdoor Swimmer, Distiller, and the New York Times. Her work is

also available for sale on Alamy photo library.

      3.     Defendant CAMPUS COMMUNICATIONS, INC. DBA THE

INDEPENDENT FLORIDA ALLIGATOR (“IFA”) is an independent, student-

owned newspaper serving the University of Florida. At all times relevant herein,

IFA owned and operated the internet website located at the URL

https://www.alligator.org/section/news (the “Website”).

      Masters alleges that IFA copied Masters' copyrighted Work from the internet

in order to advertise, market and promote its business activities. IFA committed

the violations alleged in connection with IFA’s business for purposes of

advertising and promoting sales to the public in the course and scope of the IFA’s

business.

                         JURISDICTION AND VENUE

      5.     This is an action arising under the Copyright Act, 17 U.S.C. § 501.

      6.     This Court has subject matter jurisdiction over these claims pursuant

to 28 U.S.C. §§ 1331, 1338(a).

      7.     Defendant is subject to personal jurisdiction in Florida.




                                           2
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       Case 1:22-cv-00062-AW-GRJ Document 1 Filed 03/08/22 Page 3 of 8




      8.     Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and

1400(a) because the events giving rise to the claims occurred in this district,

Defendant engaged in infringement in this district, Defendant resides in this

district, and Defendant is subject to personal jurisdiction in this district.

                                     DEFENDANT

      9.     Campus Communications, Inc. dba The Independent Florida Alligator

is a Florida Corporation, with its principal place of business at 2700 SW 13th

Street, Gainesville, FL 32608, and can be served by serving its Registered Agent,

Shaun R O'Connor, 2700 SW 13th St., Gainesville, FL 32608.

                    THE COPYRIGHTED WORK AT ISSUE

      In 2016, Masters created the photograph entitled “Ginnie Springs”, which is

shown below and referred to herein as the “Work”.




                                            3
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       Case 1:22-cv-00062-AW-GRJ Document 1 Filed 03/08/22 Page 4 of 8




       Masters registered the Work with the Register of Copyrights on November

7, 2019 and was assigned the registration number VA 2-180-717. The Certificate

of Registration is attached hereto as Exhibit 1.

       Masters' Work is protected by copyright but is not otherwise confidential,

proprietary, or trade secrets.

       13.    At all relevant times Masters was the owner of the copyrighted Work

at issue in this case.




                                             4
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       Case 1:22-cv-00062-AW-GRJ Document 1 Filed 03/08/22 Page 5 of 8




                        INFRINGEMENT BY DEFENDANT

      14.      IFA has never been licensed to use the Work at issue in this action for

any purpose.

      15.      On a date after the Work at issue in this action was created, but prior

to the filing of this action, IFA copied the Work.

      16.      On or about June 28, 2021, Masters discovered the unauthorized use

of Work on the Website.

      17.      IFA copied Masters' copyrighted Work without Masters' permission.

      18.      After IFA copied the Work, it made further copies and distributed the

Work on the internet to promote the sale of goods and services as part of its

newspaper business.

      19.      IFA copied and distributed Masters' copyrighted Work in connection

with IFA’s business for purposes of advertising and promoting IFA’s business, and

in the course and scope of advertising and selling products and services.

      20.      Masters' Works are protected by copyright but are not otherwise

confidential, proprietary, or trade secrets.

      21.      IFA committed copyright infringement of the Work as evidenced by

the documents attached hereto as Exhibit 2.

      22.      Masters never gave IFA permission or authority to copy, distribute or

display the Work at issue in this case.

                                             5
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        Case 1:22-cv-00062-AW-GRJ Document 1 Filed 03/08/22 Page 6 of 8




        23.   Masters notified IFA of the allegations set forth herein on October 12,

2021 and November 2, 2021. To date, IFA has failed to respond to Plaintiff’s

Notices. Copies of the Notices to IFA are attached hereto as Exhibit 3.


                         COPYRIGHT INFRINGEMENT

        24.   Masters incorporates the allegations of paragraphs 1 through 23 of this

Complaint as if fully set forth herein.

        25.   Masters owns a valid copyright in the Work at issue in this case.

        26.   Masters registered the Work at issue in this case with the Register of

Copyrights pursuant to 17 U.S.C. § 411(a).

        27.   IFA copied, displayed, and distributed the Work at issue in this case

and made derivatives of the Work without Masters' authorization in violation of 17

U.S.C. § 501.

        28.   IFA performed the acts alleged in the course and scope of its business

activities.

        29.   IFA’s acts were willful.

        30.   Masters has been damaged.

        31.   The harm caused to Masters has been irreparable.

        WHEREFORE, the Plaintiff Susanne Masters prays for judgment against the

Defendant Campus Communications, Inc. dba The Independent Florida Alligator

that:
                                             6
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     Case 1:22-cv-00062-AW-GRJ Document 1 Filed 03/08/22 Page 7 of 8




           a.     Defendant and its officers, agents, servants, employees,

     affiliated entities, and all of those in active concert with them, be

     preliminarily and permanently enjoined from committing the acts alleged

     herein in violation of 17 U.S.C. § 501;

           b.     Defendant be required to pay Plaintiff actual damages and

     IFA’s profits attributable to the infringement, or, at Plaintiff's election,

     statutory damages, as provided in 17 U.S.C. § 504;

           Plaintiff be awarded attorneys’ fees and costs of suit under the

     applicable statutes sued upon;

           d.     Plaintiff be awarded pre- and post-judgment interest; and

           e.     Plaintiff be awarded such other and further relief as the Court

     deems just and proper.

                                 JURY DEMAND

     Plaintiff hereby demands a trial by jury of all issues so triable.

DATED: March 8, 2022                    Respectfully submitted,


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                                          7
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Case 1:22-cv-00062-AW-GRJ Document 1 Filed 03/08/22 Page 8 of 8




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                                   8
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